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                                                                                                UNITED STATES DISTRICT COURT
                                  10001 Park Run Drive




                                                               14
                                                                                                      DISTRICT OF NEVADA
                                                               15
                                                                  INTERIOR ELECTRIC INCORPORATED
                                                               16 NEVADA, a domestic corporation,                  Case Number: 2-18-cv-01118-JAD-VCF

                                                               17                            Plaintiff,

                                                               18        vs.
                                                                                                                      STIPULATION AND ORDER
                                                               19 T.W.C. CONSTRUCTION, INC., a Nevada                EXTENDING DEADLINE FOR
                                                                  corporation; TRAVELERS CASUALTY AND             INTERIOR ELECTRIC RESPONSE TO
                                                               20 SURETY COMPANY OF AMERICA, a                       TWC CONSTRUCTION, INC.’S
                                                                  Connecticut corporation; MATTHEW RYBA, an       OBJECTION TO SPECIAL MASTER’S
                                                               21 individual; GUSTAVO BAQUERIZO, an                ORDER REGARDING MOTION TO
                                                                  individual; CLIFFORD ANDERSON, an                          COMPEL
                                                               22 individual; POWER UP ELECTRIC
                                                                                                                            (First Request)
                                                                  COMPANY, a Nevada corporation, dba POWER
                                                               23
                                                                  ON ELECTRIC COMPANY; BAMM
                                                               24 ELECTRIC LLC, a Nevada limited liability
                                                                  company; PROLOGIS, L.P., a Delaware limited
                                                               25 partnership; AML PROPERTIES, INC., a
                                                                  Nevada corporation; AML DEVELOPMENT 3,
                                                               26 LLC; a Nevada limited liability corporation;
                                                                  LAPOUR PARTNERS, INC., a Nevada
                                                               27 corporation; DON FISHER, an individual;
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                                                                1 PHILCOR T.V. & ELECTRONIC LEASING,
                                                                  INC., a Nevada corporation, dba NEDCO; QED,
                                                                2 INC., a Nevada corporation; TURTLE &
                                                                  HUGHES, Inc., a New Jersey corporation; DOES
                                                                3 I-X, inclusive; and ROE CORPORATIONS I-X,
                                                                  inclusive,
                                                                4

                                                                5                                Defendants.

                                                                6          Plaintiff and Counterdefendant Interior Electric Incorporated Nevada and Counterdefendant

                                                                7 Interior Electric Incorporated (collectively, “Interior Electric”), through the law firm of Marquis

                                                                8 Aurbach Coffing and the Law Offices of Philip A. Kantor, P.C.; Defendant and Counterclaimant

                                                                9 TWC Construction, Defendant Travelers Casualty and Surety Company of America, Defendant

                                                               10 Matthew Ryba, and Defendant Mark Wilmer (collectively, “TWC”), through the law firm of Green

                                                               11 Infuso, LLP, hereby stipulate and agree as follows:
MARQUIS AURBACH COFFING




                                                               12          WHEREAS, the Special Master issued an Order Regarding T.W.C. Construction, Inc.’s
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 Motion to Compel Plaintiff’s Additional Responses to First Request for Production of Documents
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 and First Set of Interrogatories and Motion for Attorney Fees and Costs (ECF No. 231) on June 9,

                                                               15 2020;

                                                               16          WHEREAS, TWC filed its Objection to Special Master’s Order Regarding Motion to

                                                               17 Compel (ECF No. 234) (the “Objection”) on June 23, 2020;

                                                               18          WHEREAS, the deadline for any response to the Objection is currently July 7, 2020;

                                                               19          WHEREAS, Interior Electric intends to file a response to TWC’s Objection, but requires

                                                               20 additional time due to holiday travel and other extenuating circumstances;

                                                               21          WHEREAS, TWC has agreed to give Interior Electric up to and including July 14, 2020, in

                                                               22 which to file its response to the Objection;

                                                               23          WHEREAS, there are no other deadlines that are affected by this stipulation and proposed

                                                               24 order that are presently known to the parties; and

                                                               25          WHEREAS, Interior Electric’s counsel represents that the request for additional time is not

                                                               26 for any improper purpose or delay;
                                                               27 / / /
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                                                                1         THEREFORE, Interior Electric and TWC hereby stipulate and agree that Interior Electric
                                                                2 has up through and including July 14, 2020 in which to file a Response to TWC’s Objection to

                                                                3 Special Master’s Order Regarding Motion to Compel (ECF No. 234).

                                                                4

                                                                5 Dated this 7th day of July, 2020.            Dated this 7th day of July, 2020.
                                                                6 MARQUIS AURBACH COFFING                      GREEN INFUSO, LLP
                                                                7
                                                                    By: /s/Cody S. Mounteer                    By: /s/ Michael Infuso
                                                                8       Cody S. Mounteer, Esq.                     Michael Infuso, Esq.
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                                                                        Attorneys for Plaintiff                    Casualty and Surety Company of America;
                                                               13                                                  Matthew Ryba
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




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                                                               16

                                                               17                                            IT IS SO ORDERED:
                                                               18

                                                               19                                            _________________________________
                                                                                                             United States District Judge
                                                               20
                                                                                                             Dated: July
                                                                                                             DATED:      9, 2020.
                                                                                                                     ________________________
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